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                                                                                          2005 Feb-08 PM 02:30
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

JAMES A. ELLIOTT, JR.                              )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )
                                           )       CV NO:______________________
ALLTEL COMMUNICATIONS                              )
                                           )
       Defendant.                          )

                                    INTRODUCTION

       This is an action brought by the Plaintiff for damages, attorney’s fees and costs for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
(hereinafter “FDCPA”). The Plaintiff also seeks compensatory and punitive damages for the
Defendant’s violations of Alabama state law set forth herein.

                                     JURISDICTION

1.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §§ 1331,
       1332, 1337, and 1367. Declaratory relief is available pursuant to 28 U.S.C §§ 2201
       and 2202.

2.     Jurisdiction of this court for the pendent claims is authorized by F.R.Civ.P. 18(a).

3.     Venue is proper in that the Defendant transacts business in Jefferson County,
       Alabama, and the Plaintiff resides in Jefferson County, Alabama.

                                           FACTS

4.     The Plaintiff, James A. Elliott, Jr., is a resident and citizen of the State of Alabama
       and is over the age of twenty-one (21) years. He is a resident of Trussville in
       Jefferson County.

5.     The Defendant, Alltel Communications, whose correct corporate status is unknown
       to the Plaintiff at this time, was, at all times relevant herein, conducting business in
       the state of Alabama and in Jefferson County.
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6.    The Defendant extended credit in the form of mobile phone service, account number
      TF439VC, to an individual assuming Plaintiff’s name and identity, without the
      authorization of the Plaintiff.

7.    Said account became delinquent and due.

8.    The Defendant represented, and continues to represent, to national credit bureaus and
      other third parties that the Plaintiff is indebted to Defendant; that the Plaintiff is past
      due on the above-referenced account, and has not made timely payments.

9.    Such statements are false and were false at the time made in that the Plaintiff never
      authorized, opened or used such account, never was indebted to the Defendant on
      such account, and never was late or past due on such account.

10.   Plaintiff further advised Defendant that the debt was the result of fraud and forgery,
      and requested Defendant to provide any and all documentation supporting that the
      debt was Plaintiff's responsibility.

                                COUNT ONE
                     INVASION OF THE RIGHT OF PRIVACY

11.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

12.   The Defendant undertook and/or directed a series of communications to the home of
      the Plaintiff constituting an invasion of privacy, as set out and described in the
      common law of the State of Alabama.

13.   Said communications were systematic and continuous in number and made in
      disregard for the Plaintiff's right to privacy after repeated requests that the Defendant
      no longer contact him and after being repeatedly informed that Plaintiff did not owe
      any money to the Defendant.

14.   Said communications were made to force, coerce, harass, frighten, embarrass and/or
      humiliate the Plaintiff into paying a debt he did not owe.

15.   Said invasions were intentional, willful, and malicious, and violated the Plaintiff's
      privacy.

16.   The Plaintiff repeatedly and continuously denied any responsibility for the debt and
      requested the Defendant stop communicating with the Plaintiff.
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17.   The continued communications to the Plaintiff created emotional distress, physical
      illness, and mental pain and/or anguish.

18.   Said communications constitute the wrongful intrusion into the Plaintiff's private
      activities, as well as an intentional intrusion into his solitude and seclusion.

19.   As a proximate consequence of said invasion of the right of privacy, the Defendant
      has caused the Plaintiff to suffer worry, shame, humiliation, loss of sleep, anxiety,
      nervousness, sickness, physical and mental suffering, pain, and/or anguish.

                                 COUNT TWO
                            PLACED IN A FALSE LIGHT

20.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

21.   The Defendant created an account known as account number TF439VC in the
      Plaintiff*s name and reported such account as belonging to the Plaintiff.

22.   The Defendant held the Plaintiff, James A. Elliot, Jr., up in a false light and made
      undesirable and negative character and credit reputation remarks on or about the
      Plaintiff by either speaking or writing undesirable and negative character and credit
      reputation remarks about the Plaintiff which were offensive, untrue, and inaccurate,
      and which alleged the Plaintiff was in debt to Defendant and owed money to
      Defendant.

23.   The Defendant knew that the Plaintiff was not responsible for the account and
      disputed the account, and that Plaintiff asserted the account was a fraudulent account.
      The Defendant knew this at the times they published such untrue and negative
      information.

24.   The Defendant held the Plaintiff up in a false light and made undesirable and negative
      character and credit reputation remarks on or about the Plaintiff in the national credit
      reporting media and/or other third parties including collectors.

25.   The conduct of the Defendant was objectionable to the Plaintiff and to any reasonable
      person.

26.   The Defendant’s actions were willful, reckless, wanton, and/or made with malice and
      resulted in the Plaintiff being unreasonably placed in a false light.

27.   As a proximate cause of the Defendant’s conduct, the Plaintiff was caused to have
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      negative credit reports, subjected to collection calls and activities, held up to public
      ridicule or shame, humiliated, made to suffer physically and mentally, and/or endure
      anguish, fear and/or fright.

                              COUNT THREE
                      DEFAMATION. LIBEL AND SLANDER

28.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

29.   The Defendant willfully, wantonly, recklessly and/or maliciously published and
      communicated false and defamatory statements regarding the Plaintiff.

30.   Said statements have harmed the Plaintiff’s credit reputation, and subjected the
      Plaintiff to collection efforts by attorneys and/or collectors.

31.   Said false and defamatory statements have harmed the reputation of the Plaintiff
      and/or deterred third persons from associating with the Plaintiff.

32.   The Defendant communicated to credit reporting agencies, and/or other third parties,
      false information concerning the Plaintiff, disseminating and imputing false and
      misleading credit worthiness information concerning the Plaintiff.

33.   Said communications were made to national credit bureaus, attorneys, and/or
      collection companies.

34.   Said communications were false in that Plaintiff was not indebted to the Defendant
      and Plaintiff was not obligated to the Defendant.

35.   At the time said communications were made, the Defendant knew or should have
      known the falsity of the communication, or recklessly disregarded the potential
      inaccuracy of the information, yet knowingly, willfully and/or maliciously
      communicated the falsity to another person or entity.

36.   As a result of the intentional communication to the third parties of the false
      information, the Plaintiff was caused to suffer injury to his reputation and/or was
      subjected to ridicule.

37.   Said communications were oral and/or written.

38.   As a proximate consequence of said defamation, libel and slander, the Defendant has
      caused the Plaintiff to become physically ill with nervousness, nausea, loss of sleep,
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      stress, and/or to endure mental anguish and emotion stress for which he claims
      compensatory and punitive damages.

                              COUNT FOUR
                    RECKLESS AND/OR WANTON CONDUCT

39.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

40.   Defendant recklessly and/or wantonly extended credit to individuals who fraudulently
      used the identity of the Plaintiff and allowed the theft and fraudulent use of Plaintiff’s
      identity.

41.   Defendant recklessly and/or wantonly failed to investigate Plaintiff’s claim of fraud
      and to remove Plaintiff’s name in connection with the debt. This subjected Plaintiff
      to unnecessary credit collection/defamation.

42.   Defendant recklessly and/or wantonly failed to adopt policies or procedures to govern
      its actions concerning the following:

      (A)    The thorough investigation and resolution of consumer claims that accounts
             were fraudulently opened in the consumer’s name and/or that accounts were
             fraudulently used, and to limit any damage caused to the victims of such fraud.

      (B)    To make certain that the information disseminated to others (including the
             national credit bureaus and those credit grantors likely to use the information
             provided by those bureaus), is not false, neither libelous nor slanderous, and
             rises to the level of maximum accuracy.

      (C)    To prevent the extension or granting of credit to individuals who fraudulently
             use the identity of others.

43.   Defendant recklessly and/or wantonly failed to train its employees on its practices,
      policies or procedures concerning the following:

      (A)    The thorough investigation of consumer claims that accounts were fraudulently
             opened in the consumer’s name and/or that accounts were fraudulently used,
             and to limit any damage caused to the victims of such fraud.

      (B)    To make certain that the information disseminated to others (including the
             national credit bureaus and those credit grantors likely to use the information
             provided by those bureaus), is not false, neither libelous nor slanderous, and
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             rises to the level of maximum accuracy.

      (C)    To prevent the extension or granting of credit to individuals who fraudulently
             use the identity of others.

44.   As a result of Defendant’s reckless and wanton conduct the following occurred:

      (A)    Unauthorized credit was extended in Plaintiff’s name;

      (B)    Plaintiff’s identity was stolen and used; and

      (C)    False, embarrassing, odious, misleading and negative information concerning
             the Plaintiff was disseminated to others (including the national credit bureaus
             and those credit grantors likely to use the information provided by those
             bureaus).

45.   As a proximate consequence of said reckless, willful and/or wanton conduct, the
      Defendant has caused the Plaintiff to become physically ill with nervousness, nausea,
      loss of sleep, and/or stress, and/or to endure family discord, anger, mental anguish
      and/or emotion stress for which he claims compensatory and punitive damages.

                           COUNT FIVE
            NEGLIGENT HIRING, TRAINING AND SUPERVISION

46.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

47.   The Defendant, Alltel Communications, knew or should have known of the conduct
      set forth herein which was directed at and visited upon the Plaintiff.

48.   The Defendant knew or should have known that said conduct was improper.

49.   The Defendant negligently failed to hire, train and/or supervise employees and
      collectors in order to prevent said improper conduct.

50.   As a result of the Defendant’s negligence, the Defendant has caused the Plaintiff to
      become physically ill with nervousness, nausea, loss of sleep and/or stress, to endure
      family discord, anger, mental anguish and/or emotional stress, and to lose his good
      credit and his good name for which he claims compensatory and punitive damages.

                              COUNT SIX
                 FAIR DEBT COLLECTIONS PRACTICES ACT
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51.   The Plaintiff adopts the averments and allegations of paragraphs 1 through 10
      hereinbefore as if fully set forth herein.

52.   The Defendant has engaged in collection activities and practices in violation of the
      Fair Debt Collection Practices Act (hereinafter referred to as “FDCPA”) with respect
      to the Plaintiff.

53.   The Defendant violated §1692c(a)(1) by contacting the Plaintiff at a time or place
      Defendant knew or should have known was inconvenient to the Plaintiff.

54.   The Defendant violated §1692c(b) by communicating with a third party without the
      Plaintiff’s consent.

55.   The Defendant violated §1692c(c) by continuing to communicate with the Plaintiff
      after receiving notice that the Plaintiff did not owe and refused to pay the debt or
      requested that the Defendant cease all further communications.

56.   The Defendant violated §1692d by engaging in conduct the natural consequence of
      which was to harass, oppress, or abuse the Plaintiff in the following ways:

      (A)    By using language the natural consequence of which is to abuse the hearer in
             violation of §1692d(2).

      (B)    By repeatedly telephoning the Plaintiff with the intent to annoy, abuse, or
             harass the Plaintiff in an effort to coerce them into paying a debt in violation
             of §1692d(5).

57.   The Defendant violated §1692e by making false and misleading representations to the
      Plaintiff. At the time the Defendant made these representations to the Plaintiff, the
      Defendant knew, or should have known, that said representations were false. Said
      representations made by Defendant were made recklessly, willfully, and/or
      intentionally.

58.   The Defendant falsely represented or implied that nonpayment of any debt would
      result in the prosecution and/or court action when the Defendant did not intend to take
      such action in violation of §1692e(4).

59.   The Defendant threatened to take action that could not legally be taken or which they
      did not intend to take in violation of §1692e(5).

60.   The Defendant communicated to a person credit information which was known or
      which should have been known to be false in violation of §1692e(8).
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61.   The Defendant failed to communicate that a disputed debt was disputed in violation
      of §1692e(8).

62.   In violation of 15 U.S.C. §1692g(b), after receiving written notification from the
      Plaintiff that the debt was disputed, the Defendant failed to cease collection of the
      debt, or any disputed portion thereof.

63.   As a proximate result of the Defendant’s actions, the Plaintiff was caused to suffer
      actual damages for worry, humiliation, fear, loss of sleep, anxiety, nervousness,
      physical sickness, physical pain and/or mental anguish.

                       AMOUNT OF DAMAGES DEMANDED

      WHEREFORE, PREMISES CONSIDERED, Plaintiff demands a judgment against
Defendant, Alltel Communications, as follows:

      A.      Declaratory judgment that Alltel Communications’ conduct violated the
              FDCPA;
      B.      Actual, compensatory, and punitive damages for violation of the FDCPA;
      C.      Statutory damages pursuant to 15 U.S.C. § 1692k;
      D.      Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k;
      E.      Compensatory and punitive damages in excess of the jurisdictional
              requirements of this Court, from Alltel Communications on Plaintiff’s claims
              for damages under Alabama State Law claims;
      F.      Such other and further relief as the Court may deem just and proper.




                                                _____________________________
                                                Charles J. Lorant (ASB-6465-O76C)

OF COUNSEL:
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401 Office Park Drive
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                  THE PLAINTIFF DEMANDS A JURY BY TRIAL


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                                        Of Counsel


SERVE DEFENDANT BY CERTIFIED MAIL AT:

Alltel Communications
c/o The Corporation Company
2000 Interstate Park Drive
Suite 204
Montgomery, Alabama 36109
